          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                        CRIMINAL CASE NO. 3:01cr216



UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  vs.                     )            ORDER
                                          )
                                          )
MICHAEL LOVELLE.                          )
                                          )

      THIS MATTER is before the Court on the Defendant’s Motion for

Post Conviction Credit [Doc. 257].

      The Defendant Michael Lovelle, proceeding pro se, moves the Court

“for post-conviction credit towards his sentence for time spent on house

arrest after he pled guilty....” [Motion for Post Conviction Credit, Doc. 257].

      On September 12, 2002, the Defendant entered a plea of guilty to

Count One as set forth in the Bill of Indictment, which alleged that the

Defendant had engaged in a conspiracy to possess with intent to distribute

cocaine and cocaine base. [Doc. 3]. On October 15, 2002, the Defendant

was released on an unsecured bond of $25,000 and placed on 24-hour

electronic monitoring as a condition of his release. [Order Setting




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Conditions of Release, Doc. 174]. On July 22, 2003, the Defendant was

sentenced to ninety-five (95) months imprisonment. [Judgment, Doc. 226].

He reported for service of his sentence on December 10, 2003 to the

Federal Correctional Institution in Edgefield, South Carolina. [Executed

Judgment, Doc. 234]. The docket reflects that the Defendant currently is

incarcerated at the Federal Correctional Institution in Yazoo City,

Mississippi.

      The Attorney General of the United States, not the sentencing court,

has the authority to compute the amount of presentence credit. United

States v. Wilson, 503 U.S. 329, 335, 112 S.Ct. 1351, 1355, 117 L.Ed.2d

593 (1992). Further, any challenges to the computation of a sentence

must be brought in the district of confinement. United States v. Miller, 871

F.2d 488, 490 (4th Cir. 1989); United States v. Brown, 753 F.2d 455, 456

(5th Cir. 1985). Because the Defendant is currently incarcerated in Yazoo

City, Mississippi, judicial review should have been sought in that district.

      Assuming arguendo that this Court has jurisdiction to entertain the

Defendant’s motion, it would be denied. Section 3585(b) provides, in

pertinent part:

               A defendant shall be given credit toward the service
               of a term of imprisonment for any time he has spent

                                        2


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            in official detention prior to the date the sentence
            commences --
            (1) as a result of the offense for which the sentence
            was imposed ... that has not been credited against
            another sentence.

18 U.S.C. § 3585(b) (emphasis added). The Supreme Court has held that

time spent in a substance abuse treatment center prior to the imposition of

sentence is not “official detention” within the meaning of § 3585(b). Reno

v. Koray, 515 U.S. 50, 65, 115 S.Ct. 2021, 2029, 132 L.Ed.2d 46 (1995).

“[U]nder the Bail Reform Act of 1984, a defendant suffers ‘detention’ only

when committed to the custody of the Attorney General; a defendant

admitted to bail on restrictive conditions, as respondent was, is ‘released.’”

Id. at 57, 115 S.Ct. at 2025. As the Fourth Circuit has stated:

            Conditions of release are not custody. “For the
            purpose of calculating credit for time served under
            18 U.S.C. § 3585, ‘official detention’ means
            imprisonment in a place of confinement, not
            stipulations or conditions imposed upon a person
            not subject to full physical incarceration.”

United States v. Insley, 927 F.2d 185, 186 (4th Cir. 1991) (quoting United

States v. Woods, 888 F.2d 653, 655 (10th Cir. 1989)). Because the

Defendant was placed on electronic monitoring as a condition of his

release, his time spent on electronic monitoring prior to the service of his

sentence does not qualify as “official detention.”

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     Accordingly, IT IS, THEREFORE, ORDERED that the Defendant’s

Motion for Post Conviction Credit [Doc. 257] is DENIED.

     IT IS SO ORDERED.



                                    Signed: April 23, 2008




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